2:18-mj-07076-EIL # 1   Page 1 of 24                                            E-FILED
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                                                           Clerk, U.S. District Court, ILCD




                                        s/Todd M. Emery




                                 s/Colin S. Bruce
2:18-mj-07076-EIL # 1   Page 2 of 24
2:18-mj-07076-EIL # 1   Page 3 of 24
2:18-mj-07076-EIL # 1   Page 4 of 24
2:18-mj-07076-EIL # 1   Page 5 of 24
2:18-mj-07076-EIL # 1   Page 6 of 24
2:18-mj-07076-EIL # 1   Page 7 of 24
2:18-mj-07076-EIL # 1   Page 8 of 24
2:18-mj-07076-EIL # 1   Page 9 of 24
2:18-mj-07076-EIL # 1   Page 10 of 24
2:18-mj-07076-EIL # 1   Page 11 of 24
2:18-mj-07076-EIL # 1   Page 12 of 24
2:18-mj-07076-EIL # 1   Page 13 of 24
2:18-mj-07076-EIL # 1   Page 14 of 24
2:18-mj-07076-EIL # 1   Page 15 of 24
2:18-mj-07076-EIL # 1   Page 16 of 24
2:18-mj-07076-EIL # 1   Page 17 of 24
2:18-mj-07076-EIL # 1   Page 18 of 24
        2:18-mj-07076-EIL # 1   Page 19 of 24




                                          s/Todd M. Emery




s/Colin S. Bruce
2:18-mj-07076-EIL # 1   Page 20 of 24
2:18-mj-07076-EIL # 1   Page 21 of 24
2:18-mj-07076-EIL # 1   Page 22 of 24
2:18-mj-07076-EIL # 1   Page 23 of 24
2:18-mj-07076-EIL # 1   Page 24 of 24
